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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 JOHN DOE,                            )
                                      )
                Plaintiff,
                                      )
                v.                    )               Case No. 1:18-cv-3713-TWP-MJD
                                      )
 INDIANA UNIVERSITY,                  )
                                      )
                Defendant.            )


                                  MOTION TO SUBSTITUTE

        Plaintiff, John Doe (“John”), by counsel, files his Motion to Substitute Exhibit No. 3 from

 Dkt. 47 (Dkt 47-3). In support, John states:

        1.      On January 3, 2019, John filed his Designation of Evidence.

        2.      After filing, John’s counsel realized that the document uploaded as Exhibit 3 to

 Dkt. 47 was not the correct document.

        3.      Therefore, John requests the Court to remove Exhibit 3 from Dkt. 47 and replace it

 with the correct document attached hereto as Exhibit 1.

        WHEREFORE, Plaintiff John Doe respectfully requests that this Court withdraw Exhibit

 3 from Dkt. 47 and replace it with Exhibit 1 attached hereto.



                                                      Respectfully submitted,

                                                      /s/ Margaret M. Christensen
                                                      Margaret M. Christensen, 27061-49
                                                      Jessica Laurin Meek, 34677-53
                                                      BINGHAM GREENEBAUM DOLL LLP
                                                      2700 Market Tower
                                                      10 West Market Street
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                                                       jmeek@bgdlegal.com


                          CERTIFICATE OF FILING AND SERVICE

        I hereby certify that on January 4, 2019, the foregoing was filed electronically via the
 Court’s electronic filing system. I further certify that the foregoing was served via first class mail
 and by email.

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 Melissa A. Macchia
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                                                       /s/ Margaret M. Christensen
                                                       An Attorney for John Doe
